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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF TEXAS

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                               Check if this is an
                                                                        Chapter 13
                                                                                                                               amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                             12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                            About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Jett
     government-issued picture
                                       First Name                                                 First Name
     identification (for example,
     your driver's license or          Shae
     passport).                        Middle Name                                                Middle Name

                                       Raymond
     Bring your picture                Last Name                                                  Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                                 Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8           First Name                                                 First Name
     years
                                       Middle Name                                                Middle Name
     Include your married or
     maiden names.
                                       Last Name                                                  Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   3        1       4     0      xxx – xx –
     number or federal                 OR                                                         OR
     Individual Taxpayer
     Identification number             9xx – xx –                                                 9xx – xx –
     (ITIN)

4.   Any business names                       I have not used any business names or EINs.                I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in            Business name                                              Business name
     the last 8 years
                                       Business name                                              Business name
     Include trade names and
     doing business as names
                                       Business name                                              Business name




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
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Debtor 1     Jett Shae Raymond                                                             Case number (if known)

                                  About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

                                               –                                                           –
                                  EIN                                                          EIN
                                               –                                                           –
                                  EIN                                                          EIN
5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                  29 Windsor Ridge
                                  Number       Street                                          Number      Street




                                  Frisco                          TX       75034-6858
                                  City                            State    ZIP Code            City                           State    ZIP Code

                                  Denton
                                  County                                                       County

                                  If your mailing address is different from                    If Debtor 2's mailing address is different
                                  the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                  court will send any notices to you at this                   will send any notices to you at this mailing
                                  mailing address.                                             address.



                                  Number       Street                                          Number      Street


                                  P.O. Box                                                     P.O. Box


                                  City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing         Check one:                                                   Check one:
     this district to file for
     bankruptcy                           Over the last 180 days before filing this                   Over the last 180 days before filing this
                                          petition, I have lived in this district longer              petition, I have lived in this district longer
                                          than in any other district.                                 than in any other district.

                                          I have another reason. Explain.                             I have another reason. Explain.
                                          (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)
                                          Convenience

 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the          Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you         for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                               Chapter 7

                                         Chapter 11

                                         Chapter 12

                                         Chapter 13




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Debtor 1     Jett Shae Raymond                                                      Case number (if known)

8.   How you will pay the fee         I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                      court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                      pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                      behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                      I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                      Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                      I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                      By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                      than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                      fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                      Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for               No
     bankruptcy within the
     last 8 years?                    Yes.

                                 District                                               When                    Case number
                                                                                               MM / DD / YYYY
                                 District                                               When                    Case number
                                                                                               MM / DD / YYYY
                                 District                                               When                    Case number
                                                                                               MM / DD / YYYY

10. Are any bankruptcy                No
    cases pending or being
    filed by a spouse who is          Yes.
    not filing this case with
                                 Debtor Carrie Jan Raymon                                           Relationship to you Spouse
    you, or by a business
    partner, or by an            District Northern District of Texas - Fort WorthWhen 03/22/2019                Case number, 19-41154-ELM-7
    affiliate?                                                                                 MM / DD / YYYY   if known


                                 Debtor Synpatyk Networks, LLC                                      Relationship to you affliate

                                 District Eastern District of Texas - Sherman           When 04/20/2016         Case number, 16-40736-BTR-7
                                                                                               MM / DD / YYYY   if known

11. Do you rent your                  No.    Go to line 12.
    residence?                        Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                           residence?

                                                  No. Go to line 12.
                                                  Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                  and file it with this bankruptcy petition.




Official Form 101                      Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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Debtor 1     Jett Shae Raymond                                                           Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                          No.   I am not filing under Chapter 11.

                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number     Street
    repairs?



                                                                           City                                     State         ZIP Code




Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                          page 4
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Debtor 1     Jett Shae Raymond                                                           Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.




Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                          page 5
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Debtor 1     Jett Shae Raymond                                                          Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                          No
    are paid that funds will be
                                                     Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                             1,000-5,000                           25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                          50,001-100,000
    owe?                                  100-199                          10,001-25,000                         More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                       $1,000,001-$10 million                $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million               $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                $50,000,001-$100 million              $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million             More than $50 billion

20. How much do you                       $0-$50,000                       $1,000,001-$10 million                $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million               $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                $50,000,001-$100 million              $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million             More than $50 billion

 Part 7:      Sign Below
For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                   and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                   or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                   proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                   fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                   connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                   or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                   X /s/ Jett Shae Raymond                                     X
                                      Jett Shae Raymond, Debtor 1                                  Signature of Debtor 2

                                      Executed on 05/08/2019                                       Executed on
                                                  MM / DD / YYYY                                                 MM / DD / YYYY


Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                            page 6
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Debtor 1     Jett Shae Raymond                                                       Case number (if known)

For your attorney, if you are    I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one               eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                 relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by    the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need     certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.               is incorrect.



                                 X /s/ Mark B. French                                                  Date 05/08/2019
                                    Signature of Attorney for Debtor                                        MM / DD / YYYY


                                    Mark B. French
                                    Printed name
                                    Mark B. French
                                    Firm Name
                                    Attorney at Law
                                    Number          Street
                                    1901 Central Drive, Suite 704




                                    Bedford                                                    TX              76021
                                    City                                                       State           ZIP Code


                                    Contact phone (817) 268-0505                     Email address mark@markfrenchlaw.com


                                    07440600                                                   TX
                                    Bar number                                                 State




Official Form 101                      Voluntary Petition for Individuals Filing for Bankruptcy                                            page 7
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  Fill in this information to identify your case and this filing:
  Debtor 1               Jett                        Shae                 Raymond
                         First Name                  Middle Name          Last Name

  Debtor 2
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                            Check if this is an
  (if known)
                                                                                                                            amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                        What is the property?                        Do not deduct secured claims or exemptions. Put the
29 Windsor Ridge                                            Check all that apply.                        amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                        Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building             Current value of the       Current value of the
                                                               Condominium or cooperative                entire property?           portion you own?
Frisco                           TX       75034                Manufactured or mobile home                         $879,612.00                $879,612.00
City                             State    ZIP Code             Land
                                                               Investment property                       Describe the nature of your ownership
                                                               Timeshare                                 interest (such as fee simple, tenancy by the
Denton                                                                                                   entireties, or a life estate), if known.
                                                               Other
County
                                                            Who has an interest in the property?
                                                                                                         Fee Simple
Homestead - 29 Windsor Ridge
                                                            Check one.
Value per Denton County Appraisal
                                                               Debtor 1 only                                Check if this is community property
District
                                                               Debtor 2 only                                (see instructions)
29 Windsor Ridge
Frisco, TX 75034                                               Debtor 1 and Debtor 2 only
Stonebriar Section:                                            At least one of the debtors and another
Blk B, Lot 4;                                               Other information you wish to add about this item, such as local
Purchased: July 2011                                        property identification number:
No gas or oil lease
(lien in favor of City Bank of Texas)




Official Form 106A/B                                                   Schedule A/B: Property                                                       page 1
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Debtor 1         Jett Shae Raymond                                                                     Case number (if known)


1.2.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
Liberty Energy Wells                                     Check all that apply.                               amount of any secured claims on Schedule D:
Mineral Interst in Oklahoma                                   Single-family home                             Creditors Who Have Claims Secured by Property.
no production                                                 Duplex or multi-unit building                  Current value of the            Current value of the
(Mr. Raymond has not received                                 Condominium or cooperative                     entire property?                portion you own?
royalties for several years, wells are                        Manufactured or mobile home                                         $0.00                     $0.00
capped                                                        Land
                                                              Investment property                            Describe the nature of your ownership
                                                              Timeshare                                      interest (such as fee simple, tenancy by the
County                                                        Other Liberty Energy Wells                     entireties, or a life estate), if known.

                                                         Who has an interest in the property?
                                                                                                             Fee Simple
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................           $879,612.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                                     Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                       Infiniti                     Check one.                                          amount of any secured claims on Schedule D:
                                                              Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                      QX 60
                                                              Debtor 2 only                           Current value of the                   Current value of the
Year:                       2014
                                                              Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage:                                          At least one of the debtors and another            $13,750.00                           $13,750.00
Other information:
2014 Infiniti QX 60                                           Check if this is community property
Value per NADA                                                (see instructions)
(lien in favor of City Bank)
(driven by NFS)
4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.     Add the dollar value of the portion you own for all of your entries from Part 2, including any
       entries for pages you have attached for Part 2. Write that number here.............................................................            $13,750.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 2
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Debtor 1         Jett Shae Raymond                                                                                   Case number (if known)

6.    Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware
            No
            Yes. Describe............
                                Household Furnishings                                                                                                                      $1,550.00

7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                 music collections; electronic devices including cell phones, cameras, media players, games
            No
            Yes. Describe............
                                Typical Household Electronics                                                                                                                $600.00

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
            No
            Yes. Describe............

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............
                                Kimber .45 pistol                                                                                                                            $250.00

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                Clothing                                                                                                                                     $200.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................      $2,600.00


  Part 4:          Describe Your Financial Assets
                                                                                                                                                                 Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 3
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Debtor 1         Jett Shae Raymond                                                                                                  Case number (if known)

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
           No
           Yes.....................................................................................................................................................................................................
                                                                                                                                                    Cash: ...........................................               $19.00

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
           Yes..............................                   Institution name:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                                                           % of ownership:

                                               Synaptyk Networks, LLC
                                               f/k/a Synaptyk, Inc.
                                               managed by Synaptyk Group, LLC
                                               (Mr. & Ms. Raymond own 100%)
                                               no longer operating                                                                                              100%                                            $0.00
                                               Synaptyk Studio, LLC
                                               (70% owner of Studio AO!, LLC)
                                               Mr. & Ms. Raymond owned the majority of this game
                                               no assets or operations                                                                                           70%                                            $0.00
                                               Synaptyk Group, LLC
                                               (Mr. & Ms. Raymond own 100%)
                                               no longer operating                                                                                              100%                                            $0.00
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.               Type of account:                    Institution name:




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                                  page 4
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Debtor 1         Jett Shae Raymond                                                                    Case number (if known)

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                        Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                      Federal:
           about them, including whether
           you already filed the returns                                                                                       State:
           and the tax years.....................................
                                                                                                                               Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                         Alimony:

                                                                                                                  Maintenance:

                                                                                                                  Support:

                                                                                                                  Divorce settlement:

                                                                                                                  Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information




Official Form 106A/B                                                         Schedule A/B: Property                                                       page 5
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Debtor 1         Jett Shae Raymond                                                                                   Case number (if known)

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance
            company of each policy
            and list its value................    Company name:                                                 Beneficiary:                                Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................         $19.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................
                              Screwdrivers - other handtools, Cable testers, ladder                                                                                          $250.00

41. Inventory

            No
            Yes. Describe................




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
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Debtor 1          Jett Shae Raymond                                                                                  Case number (if known)

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................       $250.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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Debtor 1           Jett Shae Raymond                                                                                          Case number (if known)


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

             No
             Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                          $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $879,612.00

56. Part 2: Total vehicles, line 5                                                                                  $13,750.00

57. Part 3: Total personal and household items, line 15                                                               $2,600.00

58. Part 4: Total financial assets, line 36                                                                                $19.00

59. Part 5: Total business-related property, line 45                                                                     $250.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $16,619.00              property total                 +           $16,619.00


63. Total of all property on Schedule A/B.                                                                                                                                                  $896,231.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 8
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 Fill in this information to identify your case:
 Debtor 1            Jett                 Shae                   Raymond
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $879,612.00                                     Const. art. 16 §§ 50, 51, Texas
Homestead - 29 Windsor Ridge                                                      100% of fair market     Prop. Code §§ 41.001-.002
Value per Denton County Appraisal District                                        value, up to any
29 Windsor Ridge                                                                  applicable statutory
Frisco, TX 75034                                                                  limit
Stonebriar Section:
Blk B, Lot 4;
Purchased: July 2011
No gas or oil lease
(lien in favor of City Bank of Texas)
Line from Schedule A/B:   1.1




3.   Are you claiming a homestead exemption of more than $155,675?
     (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Jett Shae Raymond                                                      Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                     $13,750.00                   $0.00           Tex. Prop. Code §§ 42.001(a),
2014 Infiniti QX 60                                                          100% of fair market    42.002(a)(9)
Value per NADA                                                               value, up to any
(lien in favor of City Bank)                                                 applicable statutory
(driven by NFS)                                                              limit
Line from Schedule A/B:   3.1

Brief description:                                      $1,550.00                                   Tex. Prop. Code §§ 42.001(a),
Household Furnishings                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $600.00                                    Tex. Prop. Code §§ 42.001(a),
Typical Household Electronics                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $250.00                                    Tex. Prop. Code §§ 42.001(a),
Kimber .45 pistol                                                            100% of fair market    42.002(a)(7)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                                    Tex. Prop. Code §§ 42.001(a),
Clothing                                                                     100% of fair market    42.002(a)(5)
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $250.00                                    Tex. Prop. Code §§ 42.001(a),
Screwdrivers - other handtools, Cable                                        100% of fair market    42.002(a)(4)
testers, ladder                                                              value, up to any
Line from Schedule A/B: 40                                                   applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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  Fill in this information to identify your case:
  Debtor 1             Jett                  Shae                   Raymond
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                            $22,667.00              $13,750.00            $8,917.00
City Bank
Creditor's name
                                                 2014 Infiniti QX 60
Po Box 5060
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Lubbock                  TX      79408               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Automobile
   to a community debt
Date debt was incurred           09/2016         Last 4 digits of account number        3     8    7    3




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $22,667.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                           page 1
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Debtor 1      Jett Shae Raymond                                                           Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                           $434,463.00             $879,612.00
Dovenmuehle/City Bank                         Homestead - 29 Windsor
Creditor's name
PO Box 5060                                   Ridge
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Lubbock                 TX      79408             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Conventional Real Estate Mortgage
   to a community debt
Date debt was incurred          07/2011       Last 4 digits of account number        2     3    9    8

  2.3                                         Describe the property that
                                              secures the claim:                               $5,462.00           $879,612.00
StoneBriar HOA
Creditor's name
                                      Homestead - 29 Windsor
c/o Henry, Oddo, Austin & Fletcher, PCRidge
Number     Street
1700 Pacific Ave. # 2700
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Dallas                  TX      75201             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                HoA dues
   to a community debt
Date debt was incurred          various       Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $439,925.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $462,592.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
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  Fill in this information to identify your case:
  Debtor 1             Jett                  Shae                   Raymond
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
             No. Go to Part 2.
             Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1


Priority Creditor's Name                                    Last 4 digits of account number
                                                            When was the debt incurred?
Number        Street
                                                            As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
City                             State   ZIP Code
Who incurred the debt? Check one.                           Type of PRIORITY unsecured claim:
     Debtor 1 only                                             Domestic support obligations
     Debtor 2 only                                             Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                                Claims for death or personal injury while you were
     At least one of the debtors and another                   intoxicated
     Check if this claim is for a community debt               Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1
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Debtor 1        Jett Shae Raymond                                                               Case number (if known)

  Part 2:         List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
             No. You have nothing to report in this part. Submit this form to the court with your other schedules.
             Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                       $205,659.65
American Express                                            Last 4 digits of account number         1     0    0     4
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 650448
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Dallas                          TX      75265-0448
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes
business debt
     4.2                                                                                                                                        $10,391.00
Barclays Bank Delaware                                      Last 4 digits of account number         6 3        9     3
Nonpriority Creditor's Name
                                                            When was the debt incurred?           04/2014
Attn: Bankruptcy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
P.O. Box 8801                                                   Contingent
                                                                Unliquidated
                                                                Disputed
Wilmington                      DE      19899
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes
business debt




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
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Debtor 1       Jett Shae Raymond                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

   4.3                                                                                                                                 $2,464.00
Cap1/bstby                                               Last 4 digits of account number      8 9        0    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/2010
PO Box 790441
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
St Louis                      MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes
business debt

   4.4                                                                                                                                $16,190.00
Cavalry Portfolio Services                               Last 4 digits of account number       6    5    8    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2017
ATTN: Bankruptcy Department
Number        Street                                     As of the date you file, the claim is: Check all that apply.
500 Summit Lake Ste 400                                      Contingent
                                                             Unliquidated
                                                             Disputed
Valhalla                      NY      10595
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection Attorney
Is the claim subject to offset?
     No
     Yes
business debt




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 3
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Debtor 1       Jett Shae Raymond                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

   4.5                                                                                                                                   $214.17
CE - DFW Warehouse Solutions                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
900 Port America Pl.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Grapevine                     TX      76051
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Services Rendered
Is the claim subject to offset?
     No
     Yes
BUSINESS DEBT

   4.6                                                                                                                                 $8,405.00
Chase Card                                               Last 4 digits of account number       1    8    0    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2013
Po Box 15298
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
business debt




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 4
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Debtor 1       Jett Shae Raymond                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

   4.7                                                                                                                                 $3,699.00
Chase Card                                               Last 4 digits of account number      6 5        3    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2008
Po Box 15298
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
business debt

   4.8                                                                                                                                $15,433.00
Chase Card Services                                      Last 4 digits of account number       4    8    2    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/09/2008
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 15298                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
business debt




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 5
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Debtor 1       Jett Shae Raymond                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

   4.9                                                                                                                                $30,996.00
Citibank Sd, Na                                          Last 4 digits of account number      7 6        0    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/2014
Attn: Centralized Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 20363                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Kansas City                   MO      64195
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
business debt

  4.10                                                                                                                                $14,714.00
Citibank Sd, Na                                          Last 4 digits of account number       9    9    5    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/26/2010
Citi Corp Credit Services/Attn:Centraliz
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790040                                                Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
business debt




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Debtor 1       Jett Shae Raymond                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.11                                                                                                                                $25,006.97
Citibank Sd, Na                                          Last 4 digits of account number       3    7    8    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Attn: Centralized Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 20363                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Kansas City                   MO      64195
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
business debt

  4.12                                                                                                                                   $502.00
Citibank/The Home Depot                                  Last 4 digits of account number       9    4    6    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/2009
Citicorp Credit Srvs/Centralized Bankrup
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790040                                                Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                                $13,456.93
Colemanz Construction, LLC                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
652 Spruell Rd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Monroe                        LA      71202
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency
Is the claim subject to offset?
     No
     Yes
BUSINESS DEBT

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Debtor 1       Jett Shae Raymond                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.14                                                                                                                                   $181.00
Enterprise                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
TollPass Processing Center
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 30                                                    Contingent
Roslyn Heights, NY 1157SCRBH7                                Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Services Rendered
Is the claim subject to offset?
     No
     Yes
business debt

  4.15                                                                                                                                $36,720.00
Ford Motor Credit Corporation                            Last 4 digits of account number       5    3    2    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/2013
Ford Motor Credit
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 6275                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Dearborn                      MI      48121
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency
Is the claim subject to offset?
     No
     Yes
BUSINESS DEBT




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Debtor 1       Jett Shae Raymond                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.16                                                                                                                                 $1,102.00
GECRB/Sams Club                                          Last 4 digits of account number      5 9        3    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/2010
GECRB/Sams Club
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 103104                                                Contingent
                                                             Unliquidated
                                                             Disputed
Roswell                       GA      30076
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
business debt

  4.17                                                                                                                               $101,309.98
GP Park II, LLC / Granite Park Two                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5700 Granite Pkwy,
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Plano                         TX      75024
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency
Is the claim subject to offset?
     No
     Yes
BUSINESS DEBT




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Debtor 1       Jett Shae Raymond                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.18                                                                                                                              $1,800,000.00
Happy State Bank                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 68
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Happy                         TX      79042
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Judgment (See SOFA# 10)
Is the claim subject to offset?
     No
     Yes
guaranty of business debt

  4.19                                                                                                                                $17,330.45
ITT Valwood West Industrial                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 204900
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Dept 204946                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75320
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency
Is the claim subject to offset?
     No
     Yes
BUSINESS DEBT




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Debtor 1       Jett Shae Raymond                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.20                                                                                                                                   $552.53
Just Energy                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 460008
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77056
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Utilities
Is the claim subject to offset?
     No
     Yes
business debt

  4.21                                                                                                                                 $7,316.35
Kelly, Hart & Hallman                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
201 Main, Ste 2500
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76102
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorney
Is the claim subject to offset?
     No
     Yes
BUSINESS DEBT

  4.22                                                                                                                                 $1,047.22
NTTA                                                     Last 4 digits of account number       1    4    2    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 660244
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75266-0244
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Tollway fees
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Jett Shae Raymond                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.23                                                                                                                                   $548.00
Quigley Cousins, LLC                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
8200 Boulder River Trail,
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
McKinney                      TX      75070
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Judgment (See SOFA# 9)
Is the claim subject to offset?
     No
     Yes

  4.24                                                                                                                                   $554.65
Republic Services                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4200 E. 14th St.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Plano.                        TX      75074
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Services Rendered
Is the claim subject to offset?
     No
     Yes
BUSINESS DEBT

  4.25                                                                                                                                 $5,401.81
Sunbelt Rentals                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 409211
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Atlanta                       GA      30384
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Vendor
Is the claim subject to offset?
     No
     Yes
business debt

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Debtor 1       Jett Shae Raymond                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.26                                                                                                                                $39,299.43
TRS - Rentelco                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1830 W. Airfield Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
DFW Airport                   TX      75261-9260
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency
Is the claim subject to offset?
     No
     Yes
BUSINESS DEBT

  4.27                                                                                                                                $15,066.45
Valmont Ste Pro 1                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
15 Oser Avenue
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Hauppauge                     NY      11788
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Vendor
Is the claim subject to offset?
     No
     Yes
BUSINESS DEBT




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Debtor 1       Jett Shae Raymond                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.28                                                                                                                                 $7,110.00
Wells Fargo Bank                                         Last 4 digits of account number      2 2        2    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2013
Attn: Bankruptcy Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 6429                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Greenville                    SC      29606
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
business debt

  4.29                                                                                                                                 $1,412.40
Wells Fargo Equipment Finance                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 7777
Number        Street                                     As of the date you file, the claim is: Check all that apply.
San Francisco, CA 94120-777                                  Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency
Is the claim subject to offset?
     No
     Yes
BUSINESS DEBT




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Debtor 1       Jett Shae Raymond                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.30                                                                                                                                 $4,870.96
WEX Online                                               Last 4 digits of account number       6    1    8    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Wex Bank
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 6293                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Carol Stream                  IL      60197-6293
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
BUSINESS DEBT

  4.31                                                                                                                                 $6,050.00
Wfdillards                                               Last 4 digits of account number       2    2    2    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/19/2013
Po Box 14517
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Des Moines                    IA      50306
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Jett Shae Raymond                                                           Case number (if known)

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Adam Price                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
335 Willow Wood Street                                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Non-Purchase Money
335 Willow Wood Street                                                                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number

City                            State   ZIP Code


Agents Alliance Services, LTD/                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Moore Insurance Group LLC                                   Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
2591 Dallas Pkwy, Suite 407                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Frisco                          TX      75034-8552
City                            State   ZIP Code


AllianceOne Receivables                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Management Inc.                                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
PO BOX 3107                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Southeastern                    PA      19398-3107
City                            State   ZIP Code


AllianceOne Receivables                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Management Inc.                                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
PO BOX 1007                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Arlington                       TX      76004-1007
City                            State   ZIP Code


American Credit Systems, Inc.                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
400 West Lake Street, Suite 111                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
PO BOX 72849                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Roselle                         IL      60172-0849
City                            State   ZIP Code


American Express                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
c/o Becket and Lee, LLP                                     Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Credit Card
PO Box 3001                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Malvern                         PA      19355-0701
City                            State   ZIP Code



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Debtor 1     Jett Shae Raymond                                                     Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Anixter                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1601 Waters Ridge Road                              Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Lewisville                 TX      75057-6013
City                       State   ZIP Code


Appia Communications                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1030 Hastings, Suite 100                            Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Traverse City              MI      49686-3470
City                       State   ZIP Code


arrollton-Farmers Branch ISD                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Eboney Cobb                                         Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                  Property Taxes
Perdue Brandon Fielder Et Al                                                            Part 2: Creditors with Nonpriority Unsecured Claims

500 E. Border St. Suite 640
                                                    Last 4 digits of account number
Arlington                  TX      76010
City                       State   ZIP Code


ARS National Services Inc.                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 469100                                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                  Non-Purchase Money                  Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Escondido                  CA      92046-9100
City                       State   ZIP Code


Atmos Energy                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 790311                                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
St. Louis                  MO      63179-0311
City                       State   ZIP Code


Avis                                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
7876 Collections Center                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                  Vendor                              Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Chicago                    IL      60693
City                       State   ZIP Code
BUSINESS DEBT




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Debtor 1     Jett Shae Raymond                                                    Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Capital Management Services, LP                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 120                                         Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Buffalo                   NY      14206
City                      State   ZIP Code


Capital Premium Financing                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 660899                                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Dallas                    TX      75266-0899
City                      State   ZIP Code


Carrington Mortgage Services                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Attn: Bankruptcy                                   Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
PO Box 3730                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number       5    9    5    1
Anaheim                   CA      92806
City                      State   ZIP Code


Carrollton-Farmers Branch I.S.D.                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1445 N. Perry Road                                 Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
PO BOX 110611                                                                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Carrollton                TX      75011-0611
City                      State   ZIP Code


Carrollton-Farmers Branch Independent Sc           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
c/o Daniel K. Bearnden, Esq.                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
Law Offices Of Robert E. Luna, P.C.                                                    Part 2: Creditors with Nonpriority Unsecured Claims

4411 North Central Expressway
                                                   Last 4 digits of account number
Dallas                    TX      75205-4210
City                      State   ZIP Code


CE - DFW Warehouse Solutions                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 660899                                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Dallas                    TX      75266-0899
City                      State   ZIP Code




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Debtor 1     Jett Shae Raymond                                                    Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Citibank                                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 790034                                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Saint Louis               MO      63179
City                      State   ZIP Code


Citimortgage Inc                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Po Box 9438,dept 0251                              Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number       2    2    7    2
Gaithersburg              MD      20898
City                      State   ZIP Code
29 Windsor Ridge
Frisco, TX 75034




COLLIN COUNTY TAX ASSESSOR/COLLECTOR On which entry in Part 1 or Part 2 did you list the original creditor?
Name
C/O GAY MCCALL ISAACKS ET AL                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
777 E 15TH ST                                                                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
PLANO                     TX      75074-5799
City                      State   ZIP Code


Collin County Tax Assessor/Collector               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
c/o Gay McCall Isaacks et al                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
777 E. 15th St                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Plano                     TX      75074
City                      State   ZIP Code

business debt

Colony Insurance Company                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
c/o Audrey Richards                                Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
PO Box 469011                                                                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
San Antonio               TX      78246
City                      State   ZIP Code
business debt

Continuum                                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
99 High St, 31st Floor                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Boston                    MA      02110-2329
City                      State   ZIP Code


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Debtor 1     Jett Shae Raymond                                                      Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Darren R. Hatch                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
White Rock Tower, Suite 300                          Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
6510 Abrams Road                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Dallas                    TX        75231-7217
City                      State     ZIP Code


Darren R. Hatch                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Reagan McLain & Hatch, LLP                           Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
White Rock Tower, Suite 300                                                              Part 2: Creditors with Nonpriority Unsecured Claims

6510 Abrams Rd.
                                                     Last 4 digits of account number
Dallas                    TX        75231
City                      State     ZIP Code
business debt

Dean Raymond                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
504 Upland Ave                                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Lubbock                   TX        79416-6610
City                      State     ZIP Code


Deans & Lyons                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Attn: Robert J. Bogdanowicz III                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
325 N. Saint Paul St., Suite 1500                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Dallas                    TX        75201-3891
City                      State     ZIP Code


Department of Labor and Industries                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 34974                                         Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Seattle                   WA        98124-1974
City                      State     ZIP Code


DFW Airport, TX 75261                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
United Collection Bureau, Inc                        Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
PO BOX 140310                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Toledo                    OH        43614-0310
City                      State     ZIP Code




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Debtor 1     Jett Shae Raymond                                                    Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Dillon Stone                                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
7309 Royal Crest Lane                              Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Plano                     TX      75025-3071
City                      State   ZIP Code


Diversified Adjustment Service, Inc                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 32145                                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Fridley                   MN      55432-0145
City                      State   ZIP Code


Doug Bynum                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 261853                                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Plano                     TX      75026-1853
City                      State   ZIP Code


Eagle Capital                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 4215                                        Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Tupelo                    MS      38803
City                      State   ZIP Code
business debt

EAN Holdings, LLC                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
600 Corporate Park Dr                              Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
St. Louis                 MO      63105-4204
City                      State   ZIP Code


Enterprise Rent-a-Car                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box                                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                 Alternate Address                   Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Kansas City               MO      64184-3369
City                      State   ZIP Code
business debt




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Debtor 1     Jett Shae Raymond                                                     Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

First Financial Asset Mgmt, Inc.                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
3091 Governors Lake Drive                           Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
Suite 500                                                                               Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Peachtree Corners         GA       30071-1135
City                      State    ZIP Code


Firstsource Advantage, LLC                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
205 Bryant Woods South                              Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Amherst                   NY       14228-3609
City                      State    ZIP Code


FMA Alliance, Ltd.                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 2409                                         Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Houston                   TX       77252-2409
City                      State    ZIP Code


Foley Carrier Services                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
655 Winding Brook Drive                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Glastonbury               CT       06033-4337
City                      State    ZIP Code


Gay, McCall, Isaacks & Roberts                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Attn: Erin Minett                                   Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
777 East 15th Street                                                                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Plano                     TX       75074-5799
City                      State    ZIP Code


Goldman, Evans & Trammell LLC                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
10323 Cross Creek Blvd 11 F11                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Tampa                     FL       33647-2988
City                      State    ZIP Code




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Debtor 1     Jett Shae Raymond                                                      Case number (if known)

  Part 3:       List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Harrell Pailet & Associates, P.C.                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
5454 La Sierra Drive, Suite 100                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Dallas                     TX       75231-2342
City                       State    ZIP Code


Ingold Law                                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
5555 Main Street                                     Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Williamsville              NY       14221-5430
City                       State    ZIP Code


Jacob M. Figrlman                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
275 W. Campbell Suite 312                            Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Richardson                 TX       75080
City                       State    ZIP Code


James Brendan Carroll III                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
501 Elm St                                           Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
Suite 385, L.B. 33                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Dallas                     TX       75202-3303
City                       State    ZIP Code


James Creedon                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Klemchuk, LLP                                        Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
8150 N. Central Expy.                                                                    Part 2: Creditors with Nonpriority Unsecured Claims

10th Floor
                                                     Last 4 digits of account number
Dallas                     TX       75206
City                       State    ZIP Code


Jameson and Dunagan, P.C.                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Attn: Chris P. Jameson                               Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
5429 LBJ Freeway, Suite 700                                                              Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Dallas                     TX       75240-2610
City                       State    ZIP Code




Official Form 106E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page 23
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Debtor 1     Jett Shae Raymond                                                    Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Jeff Carruth                                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Weycer, Kaplan, Pulaski, & Zuber, PC               Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
3030 Matlock Rd, Suite 201                                                             Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Arlington                 TX      76015
City                      State   ZIP Code


Law Offices of Robert E. Luna, P.C.                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Attn: Daniel K. Bearden, Jr.                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
4411 North Central Expressway                                                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Dallas                    TX      75205-4210
City                      State   ZIP Code


Law Offices of Scott H. Richard                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Attn: Scott H. Richard                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
1000 E. Beltline Rd, Suite 250                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Carrollton                TX      75006-6297
City                      State   ZIP Code


LTD Financial Services, L.P.                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
7322 Southwest Freeway Suite 1600                  Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Houston                   TX      77074-2134
City                      State   ZIP Code


Mc Grath RentCorp                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
d/b/a TRS - Rentelco                               Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
1830 W. Airfield Dr.                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
DFW Airport               TX      75261-9260
City                      State   ZIP Code


McCarthy, Burgess & Wolfe                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
The MB&W Building                                  Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
26000 Cannon Road                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Cleveland                 OH      44146-1807
City                      State   ZIP Code




Official Form 106E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                          page 24
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Debtor 1     Jett Shae Raymond                                                    Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Nationstar Mortgage LLC                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Attn: Bankruptcy                                   Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
350 Highland Dr                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number       0    9    2    3
Lewisville                TX      75067
City                      State   ZIP Code


NCS                                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 24101                                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Cleveland                 OH      44124-0101
City                      State   ZIP Code


Northland Group Inc.                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 390846                                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Minneapolis               MN      55439-0846
City                      State   ZIP Code


NTTA                                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 260928                                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                 Tollway Fees                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Plano                     TX      75026
City                      State   ZIP Code
BUSINESS DEBT

Phillips & Cohen Associates, Ltd.                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Mail Stop: 871                                     Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
1004 Justison Street                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Wilmington                DE      19801-5148
City                      State   ZIP Code


PORTFOLIO RECOVERY ASSOCIATES LLC                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 41067                                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
NORFOLK                   VA      23541-1067
City                      State   ZIP Code




Official Form 106E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                          page 25
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Debtor 1     Jett Shae Raymond                                                      Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

ReadyRefresh by Nestle                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 5010                                          Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Woodland Hills              CA      91365-5010
City                        State   ZIP Code


Receivable Management Service                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1250 E. Diehl Rd, Ste 300                            Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
PO BOX 3100                                                                              Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Naperville                  IL      60566-7100
City                        State   ZIP Code


Receivables Performance Management                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 1548                                          Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Lynnwood                    WA      98046-1548
City                        State   ZIP Code


Republic Services                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
4200 E 14th St                                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Plano                       TX      75074-7102
City                        State   ZIP Code


Rossenberger Site Solutions, LLC                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 4268                                          Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Lake Charles                LA      70606
City                        State   ZIP Code
BUSINESS DEBT

Southwest Credit                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
4120 International Pkwy, Suite 1100                  Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Collection Agency                   Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Carrollton                  TX      75007-1958
City                        State   ZIP Code




Official Form 106E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page 26
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Debtor 1     Jett Shae Raymond                                                     Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Stream realty Partners- DFW                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2805 N. Dallas Parkway, Suite 260                   Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                  Deficiency
Lock Box #12                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Plano                     TX       75093
City                      State    ZIP Code
BUSINESS DEBT

T. Craig Sheils                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Sheils Winnubst, PC                                 Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
1701 N. Collins Blvd. Suite 1100                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Richardson                TX       75080
City                      State    ZIP Code


TRS - Rentelco                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 619260                                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                  Deficiency                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
DFW Airport               TX       75261-9260
City                      State    ZIP Code
alternate address

United Collection Bureau, Inc.                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 140310                                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Toledo                    OH       43614-0310
City                      State    ZIP Code


Us Bank                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
425 Walnut St                                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number       9    4    0    2
Cincinnati                OH       45202
City                      State    ZIP Code


Valmont Site Pro 1                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
15 Oser Ave                                         Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Hauppauge                 NY       11788
City                      State    ZIP Code




Official Form 106E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                          page 27
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Debtor 1     Jett Shae Raymond                                                    Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Verizon                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 660108                                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Dallas                    TX      75266-0108
City                      State   ZIP Code


Verizon                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 920041                                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Dallas                    TX      75392-0041
City                      State   ZIP Code


Weycer, Kaplan, Pulaski, & Zuber, PC               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
3030 Matlock Rd, Suite 201                         Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Arlington                 TX      76015
City                      State   ZIP Code
represents Happy State Bank

William L. Siegel                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Cowles & Thompson                                  Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
901 Main Street, Suite 3900                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Dallas                    TX      75202
City                      State   ZIP Code


Windham Professionals, Inc.                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
382 Main Street                                    Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Salem                     NH      03079-2412
City                      State   ZIP Code


Zurich North America                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1400 American Lane                                 Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
Tower 2 Floor 5                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Schaumburg                IL      60196-5452
City                      State   ZIP Code




Official Form 106E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                          page 28
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Debtor 1     Jett Shae Raymond                                                    Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Zwicker & Associates, PC                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Old Town Square 1 Chisolm Trail                    Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
Suite 301                                                                              Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Round Rock                TX      78681
City                      State   ZIP Code




Official Form 106E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                          page 29
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Debtor 1       Jett Shae Raymond                                                       Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +      $2,393,004.95


                  6j.   Total.   Add lines 6f through 6i.                                            6j.          $2,393,004.95




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                       page 30
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 Fill in this information to identify your case:
 Debtor 1            Jett                 Shae                   Raymond
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1              Jett                   Shae                        Raymond
                       First Name             Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name               Middle Name                 Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                            Check if this is an
 (if known)
                                                                                                                            amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes

2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes
                In which community state or territory did you live?                   Texas     Fill in the name and current address of that person.

                Carrie Jan Raymond
                Name of your spouse, former spouse, or legal equivalent
                29 Windsor Ridge
                Number          Street


                Frisco                                          TX              75034
                City                                            State           ZIP Code

3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                 Check all schedules that apply:

3.1      Raymond, Carrie Jan
         Name                                                                                          Schedule D, line
         29 Windsor Ridge                                                                              Schedule E/F, line       5.35
         Number        Street
                                                                                                       Schedule G, line

         Frisco                                         TX                75034                  EAN Holdings, LLC
         City                                           State             ZIP Code




Official Form 106H                                               Schedule H: Your Codebtors                                                            page 1
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Debtor 1      Jett Shae Raymond                                          Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.2    Raymond, Carrie Jan
       Name                                                                      Schedule D, line
       29 Windsor Ridge                                                          Schedule E/F, line
       Number        Street
                                                                                                        5.37
                                                                                 Schedule G, line

       Frisco                           TX          75034                    First Financial Asset Mgmt, Inc.
       City                             State       ZIP Code


3.3    Raymond, Carrie Jan
       Name                                                                      Schedule D, line
       29 Windsor Ridge                                                          Schedule E/F, line     5.38
       Number        Street
                                                                                 Schedule G, line

       Frisco                           TX          75034                    Firstsource Advantage, LLC
       City                             State       ZIP Code


3.4    Raymond, Carrie Jan
       Name                                                                      Schedule D, line
       29 Windsor Ridge                                                          Schedule E/F, line
       Number        Street
                                                                                                        5.39
                                                                                 Schedule G, line

       Frisco                           TX          75034                    FMA Alliance, Ltd.
       City                             State       ZIP Code


3.5    Raymond, Carrie Jan
       Name                                                                      Schedule D, line
       29 Windsor Ridge                                                          Schedule E/F, line     5.40
       Number        Street
                                                                                 Schedule G, line

       Frisco                           TX          75034                    Foley Carrier Services
       City                             State       ZIP Code


3.6    Raymond, Carrie Jan
       Name                                                                      Schedule D, line
       29 Windsor Ridge                                                          Schedule E/F, line
       Number        Street
                                                                                                        5.41
                                                                                 Schedule G, line

       Frisco                           TX          75034                    Gay, McCall, Isaacks & Roberts
       City                             State       ZIP Code


3.7    Raymond, Carrie Jan
       Name                                                                      Schedule D, line
       29 Windsor Ridge                                                          Schedule E/F, line     5.42
       Number        Street
                                                                                 Schedule G, line

       Frisco                           TX          75034                    Goldman, Evans & Trammell LLC
       City                             State       ZIP Code


3.8    Raymond, Carrie Jan
       Name                                                                      Schedule D, line
       29 Windsor Ridge                                                          Schedule E/F, line
       Number        Street
                                                                                                        5.43
                                                                                 Schedule G, line

       Frisco                           TX          75034                    Harrell Pailet & Associates, P.C.
       City                             State       ZIP Code




Official Form 106H                              Schedule H: Your Codebtors                                              page 2
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Debtor 1       Jett Shae Raymond                                          Case number (if known)

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.9     Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line
        Number       Street
                                                                                                         5.44
                                                                                  Schedule G, line

        Frisco                           TX          75034                    Ingold Law
        City                             State       ZIP Code


3.10    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line     5.46
        Number       Street
                                                                                  Schedule G, line

        Frisco                           TX          75034                    James Brendan Carroll III
        City                             State       ZIP Code


3.11    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line
        Number       Street
                                                                                                         5.48
                                                                                  Schedule G, line

        Frisco                           TX          75034                    Jameson and Dunagan, P.C.
        City                             State       ZIP Code


3.12    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line     5.50
        Number       Street
                                                                                  Schedule G, line

        Frisco                           TX          75034                    Law Offices of Robert E. Luna, P.C.
        City                             State       ZIP Code


3.13    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line
        Number       Street
                                                                                                         5.51
                                                                                  Schedule G, line

        Frisco                           TX          75034                    Law Offices of Scott H. Richard
        City                             State       ZIP Code


3.14    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line     5.52
        Number       Street
                                                                                  Schedule G, line

        Frisco                           TX          75034                    LTD Financial Services, L.P.
        City                             State       ZIP Code


3.15    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line
        Number       Street
                                                                                                         5.54
                                                                                  Schedule G, line

        Frisco                           TX          75034                    McCarthy, Burgess & Wolfe
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                              page 3
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Debtor 1       Jett Shae Raymond                                          Case number (if known)

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.16    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line
        Number       Street
                                                                                                         5.56
                                                                                  Schedule G, line

        Frisco                           TX          75034                    NCS
        City                             State       ZIP Code


3.17    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line     5.57
        Number       Street
                                                                                  Schedule G, line

        Frisco                           TX          75034                    Northland Group Inc.
        City                             State       ZIP Code


3.18    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line
        Number       Street
                                                                                                         5.59
                                                                                  Schedule G, line

        Frisco                           TX          75034                    Phillips & Cohen Associates, Ltd.
        City                             State       ZIP Code


3.19    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line     5.60
        Number       Street
                                                                                  Schedule G, line

        Frisco                           TX          75034                    PORTFOLIO RECOVERY ASSOCIATES LLC
        City                             State       ZIP Code


3.20    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line
        Number       Street
                                                                                                         4.23
                                                                                  Schedule G, line

        Frisco                           TX          75034                    Quigley Cousins, LLC
        City                             State       ZIP Code


3.21    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line     5.61
        Number       Street
                                                                                  Schedule G, line

        Frisco                           TX          75034                    ReadyRefresh by Nestle
        City                             State       ZIP Code


3.22    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line
        Number       Street
                                                                                                         5.62
                                                                                  Schedule G, line

        Frisco                           TX          75034                    Receivable Management Service
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                              page 4
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Debtor 1       Jett Shae Raymond                                          Case number (if known)

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.23    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line
        Number       Street
                                                                                                         5.63
                                                                                  Schedule G, line

        Frisco                           TX          75034                    Receivables Performance Management
        City                             State       ZIP Code


3.24    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line     5.64
        Number       Street
                                                                                  Schedule G, line

        Frisco                           TX          75034                    Republic Services
        City                             State       ZIP Code


3.25    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line
        Number       Street
                                                                                                         5.70
                                                                                  Schedule G, line

        Frisco                           TX          75034                    United Collection Bureau, Inc.
        City                             State       ZIP Code


3.26    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line     5.72
        Number       Street
                                                                                  Schedule G, line

        Frisco                           TX          75034                    Valmont Site Pro 1
        City                             State       ZIP Code


3.27    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line
        Number       Street
                                                                                                         5.74
                                                                                  Schedule G, line

        Frisco                           TX          75034                    Verizon
        City                             State       ZIP Code


3.28    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line     5.73
        Number       Street
                                                                                  Schedule G, line

        Frisco                           TX          75034                    Verizon
        City                             State       ZIP Code


3.29    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line
        Number       Street
                                                                                                         5.77
                                                                                  Schedule G, line

        Frisco                           TX          75034                    Windham Professionals, Inc.
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                              page 5
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Debtor 1       Jett Shae Raymond                                          Case number (if known)

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.30    Raymond, Carrie Jan
        Name                                                                      Schedule D, line
        29 Windsor Ridge                                                          Schedule E/F, line
        Number       Street
                                                                                                         5.78
                                                                                  Schedule G, line

        Frisco                           TX          75034                    Zurich North America
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                              page 6
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 Fill in this information to identify your case:
     Debtor 1              Jett                 Shae                   Raymond
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Unemployed                                         Certified Dental Assistant
      Include part-time, seasonal,
      or self-employed work.            Employer's name                                                           Stelly Family Dentistry

      Occupation may include            Employer's address                                                        5800 Coit Rd. Ste 700
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                                                                                  Plano                   TX      75023
                                                               City                         State   Zip Code      City                    State   Zip Code

                                        How long employed there?                                                          22 months

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                     $0.00                   $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.                  $0.00                   $0.00




Official Form 106I                                            Schedule I: Your Income                                                                 page 1
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Debtor 1        Jett Shae Raymond                                                                                                     Case number (if known)
                                                                                                                        For Debtor 1              For Debtor 2 or
                                                                                                                                                  non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00            $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00                 $0.00
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00                 $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00                 $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00                 $0.00
     5e. Insurance                                                                                              5e.                  $0.00                 $0.00
     5f. Domestic support obligations                                                                           5f.                  $0.00                 $0.00
     5g. Union dues                                                                                             5g.                  $0.00                 $0.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00                 $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                   $0.00                 $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00                 $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.                  $0.00                 $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                                 8b.                  $0.00                 $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00                 $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                              8d.                  $0.00                 $0.00
     8e. Social Security                                                                                        8e.                  $0.00                 $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00                 $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00                 $0.00
     8h. Other monthly income.
         Specify:                                                                                               8h. +                $0.00                 $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.                   $0.00                 $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.         $0.00 +             $0.00 =                                                            $0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                  11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                  12.                $0.00
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                        Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           Cost of living increases. Mr. Raymond & his spouse are seperated; they do not share income or
        Yes. Explain: expenses.




Official Form 106I                                                                  Schedule I: Your Income                                                                        page 2
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Jett                   Shae                   Raymond                             An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    NORTHERN DISTRICT OF TEXAS                                     MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Daughter
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                     $850.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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Debtor 1      Jett Shae Raymond                                                        Case number (if known)

                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.

     6b. Water, sewer, garbage collection                                                           6b.

     6c. Telephone, cell phone, Internet, satellite, and                                            6c.
         cable services
     6d. Other. Specify:      Cell Phone                                                            6d.                   $260.00
7.   Food and housekeeping supplies                                                                 7.                    $400.00
8.   Childcare and children's education costs                                                       8.

9.   Clothing, laundry, and dry cleaning                                                            9.                     $50.00
10. Personal care products and services                                                             10.

11. Medical and dental expenses                                                                     11.

12. Transportation. Include gas, maintenance, bus or train                                          12.                   $100.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.
    magazines, and books
14. Charitable contributions and religious donations                                                14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                          15a.

     15b.   Health insurance                                                                        15b.

     15c.   Vehicle insurance                                                                       15c.

     15d.   Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                              17a.

     17b.   Car payments for Vehicle 2                                                              17b.

     17c.   Other. Specify:                                                                         17c.

     17d.   Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.   Mortgages on other property                                                             20a.

     20b.   Real estate taxes                                                                       20b.

     20c.   Property, homeowner's, or renter's insurance                                            20c.

     20d.   Maintenance, repair, and upkeep expenses                                                20d.

     20e.   Homeowner's association or condominium dues                                             20e.



 Official Form 106J                                        Schedule J: Your Expenses                                         page 2
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Debtor 1      Jett Shae Raymond                                                                Case number (if known)

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.            $1,660.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.            $1,660.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                $0.00
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –        $1,660.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.           ($1,660.00)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                Inflationary increases in expenses. Mr. Raymond has been working odd jobs & getting help from hir friends &
                family to make ends meet. Mr. Raymond is staying with a friend since he is seperated from NFS.




 Official Form 106J                                         Schedule J: Your Expenses                                             page 3
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 Fill in this information to identify your case:
 Debtor 1                Jett                          Shae                           Raymond
                         First Name                    Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                    Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                                                           Check if this is an
 (if known)
                                                                                                                                                           amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                       Your assets
                                                                                                                                                                       Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $879,612.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                         $16,619.00
     1b. Copy line 62, Total personal property, from Schedule A/B.................................................................................................................................................................


                                                                                                                                                                            $896,231.00
     1c. Copy line 63, Total of all property on Schedule A/B........................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $462,592.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +           $2,393,004.95
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                    Your total liabilities                      $2,855,596.95




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                                 $0.00
     Copy your combined monthly income from line 12 of Schedule I.........................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                   $1,660.00




Official Form 106Sum                         Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Jett Shae Raymond                                                            Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

     9d. Student loans. (Copy line 6f.)

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +

     9g. Total.    Add lines 9a through 9f.




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1           Jett                Shae                 Raymond
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Jett Shae Raymond                                X
        Jett Shae Raymond, Debtor 1                            Signature of Debtor 2

        Date 05/08/2019                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
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 Fill in this information to identify your case:
 Debtor 1           Jett                    Shae                  Raymond
                    First Name              Middle Name           Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name           Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2:       Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

         No
         Yes. Fill in the details.

                                                    Debtor 1                                             Debtor 2

                                                   Sources of income          Gross income           Sources of income            Gross income
                                                   Check all that apply.      (before deductions     Check all that apply.        (before deductions
                                                                              and exclusions                                      and exclusions

From January 1 of the current year until              Wages, commissions,              $3,100.00          Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                       bonuses, tips
                                                      Operating a business                                Operating a business


For the last calendar year:                           Wages, commissions,      $59,500.00 (est.)          Wages, commissions,
                                                      bonuses, tips                                       bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY                Operating a business                                Operating a business


For the calendar year before that:                    Wages, commissions, $135,500.00 (est.)              Wages, commissions,
                                                      bonuses, tips                                       bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                Operating a business                                Operating a business




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Debtor 1       Jett Shae Raymond                                                        Case number (if known)

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                  Debtor 1                                         Debtor 2

                                                Sources of income           Gross income          Sources of income           Gross income
                                                Describe below.             from each source      Describe below.             from each source
                                                                            (before deductions                                (before deductions
                                                                            and exclusions                                    and exclusions

From January 1 of the current year until
the date you filed for bankruptcy:



For the last calendar year:                     Sale of Gent's
(January 1 to December 31, 2018 )               (see SOFA# 18)
                                YYYY



For the calendar year before that:
(January 1 to December 31, 2017 )
                                YYYY




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Debtor 1         Jett Shae Raymond                                                             Case number (if known)


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                     "incurred by an individual primarily for a personal, family, or household purpose."

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the
                             total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                             child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                     * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                             creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                             Also, do not include payments to an attorney for this bankruptcy case.

                                                               Dates of       Total amount         Amount you          Was this payment for...
                                                               payment        paid                 still owe
City Bank Texas                                                                   $8,823.00          $469,048.00             Mortgage
Creditor's name                                                                                                              Car
                                                               4/2019
Attn:Deann Harris/Special Assets                                                                                             Credit card
Number      Street                                             3/2019
                                                               2/2019                                                        Loan repayment
PO Box 5060
                                                                                                                             Suppliers or vendors
Lubbock                              TX       79408                                                                          Other
City                                 State    ZIP Code

7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.

           No
           Yes. List all payments to an insider.




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Debtor 1       Jett Shae Raymond                                                             Case number (if known)

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




 Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                Nature of the case                          Court or agency                               Status of the case
Happy State Bank v. Carrie J.             debt                                        14th Judicial District Court
                                                                                                                                              Pending
Raymond and Jett Shae                                                                 Court Name
Raymond                                                                                                                                       On appeal
                                                                                      Number     Street
Case number DC-17-17738                                                                                                                       Concluded

                                                                                      Dallas County              TX
                                                                                      City                       State   ZIP Code


Case title                                Nature of the case                          Court or agency                               Status of the case
Calvary SPV I, LLC v. Carrie              debt                                        393rd Judicial District Court
                                                                                                                                              Pending
Raymond                                                                               Court Name
                                                                                                                                              On appeal
                                                                                      Number     Street
Case number 19-2060-393                                                                                                                       Concluded

                                                                                      Denton                     TX      76209
                                                                                      City                       State   ZIP Code


Case title                                Nature of the case                          Court or agency                               Status of the case
In the Matter of the Marriage of          divorce                                     442nd Judicial District Court
                                                                                                                                              Pending
Jett Shae Raymond & Carrie                                                            Court Name
Jan Raymond                                                                                                                                   On appeal
                                                                                      Number     Street
Case number 18-0679-442                                                                                                                       Concluded

                                                                                      Denton County              TX
                                                                                      City                       State   ZIP Code


Case title                                Nature of the case                          Court or agency                               Status of the case
Calvary SPV I, LLC amd                    debt                                        County Court at Law No. 2
                                                                                                                                              Pending
Assignee of Citibank                                                                  Court Name
NA/AAdvantage v. Jett                                                                                                                         On appeal
Raymond                                                                               Number     Street
                                                                                                                                              Concluded
Case number 2018-04231
                                                                                      Denton                     TX      76209
                                                                                      City                       State   ZIP Code




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Debtor 1         Jett Shae Raymond                                                           Case number (if known)

Case title                                   Nature of the case                       Court or agency                             Status of the case
Quigley Cousins, LLC v. Jett                 debt                                     Justice of the Peace Court Precinct 4
                                                                                                                                            Pending
Raymond                                                                               Court Name
                                                                                                                                            On appeal
                                                                                      Number     Street
Case number 04-SC-19-00195                                                                                                                  Concluded

                                                                                      Collin County            TX
                                                                                      City                     State   ZIP Code


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:          List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

 Part 6:          List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.




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Debtor 1       Jett Shae Raymond                                                            Case number (if known)

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment         Amount of
Mark B. French                                       $4,500.00 + $335.00 Filing Fee + $50.00 Credit             or transfer was      payment
Person Who Was Paid                                  Counseling Fee + $100.00 Credit Report Fee +               made

Law Office of Mark B. French                         $50.00 Financial Management Course
Number      Street

1901 Central Drive, Suite 704

Bedford                       TX       76021
City                          State    ZIP Code

markfrenchlaw.com
Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

                                                     Description and value of any            Describe any property or payments          Date transfer
Dean Raymond                                         property transferred                    received or debts paid in exchange         was made
Person Who Received Transfer                         2012 Jeep Wrangler                      Amount received                                2/2019
                                                                                             (proceeds from sale went to pay
Number      Street                                                                           purchase money lender)



Lubbock                       TX
City                          State    ZIP Code

Person's relationship to you Father

                                                     Description and value of any            Describe any property or payments          Date transfer
Ben Davis                                            property transferred                    received or debts paid in exchange         was made
Person Who Received Transfer                         Mr. Raymond's minority                  $100,000.00 - Mr. Raymond's 1/2                6/2018
                                                     ownership interest in The               of these proceeds used to pay
Number      Street                                   Gent's Place - Preston Hollow           property taxes on homestead &
                                                     Purchaser was majority owner            for living expenses



City                          State    ZIP Code

Person's relationship to you 3rd Party




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Debtor 1       Jett Shae Raymond                                                           Case number (if known)

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

  Part 8:        List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

  Part 9:        Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.

                                               Where is the property?                        Describe the property                   Value

Dean Raymond                                                                                 2012 Jeep Wrangler
Owner's Name                                                                                 (Mr. Raymond's dad is letting
                                                                                             use this vehicle)
Number      Street                             Number    Street




Lubbock                   TX
City                      State   ZIP Code     City                    State   ZIP Code




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 7
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Debtor 1        Jett Shae Raymond                                                               Case number (if known)

  Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


            No
            Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

            No
            Yes. Fill in the details.

  Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.

                                                  Describe the nature of the business                 Employer Identification number
Synaptyk Networks, LLC                            cell tower installation & maintenance               Do not include Social Security number or ITIN.
Business Name                                     (no assets or operations)
                                                                                                      EIN: 4     6 – 1         3    8    7   5   2    1
f/k/a Synaptyk, Inc.                              Name of accountant or bookkeeper
Number       Street
                                                  Jay B. Taylor, CPA                                  Dates business existed
5700 Granite Pkwy, Ste 900
                                                                                                      From        2012             To    2015
Plano                      TX      75024
City                       State   ZIP Code




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Debtor 1      Jett Shae Raymond                                                      Case number (if known)

                                           Describe the nature of the business            Employer Identification number
Synaptyk Studio, LLC                       never operated                                 Do not include Social Security number or ITIN.
Business Name
                                                                                          EIN: 3    2 – 4      9    2    0   4    4    0
29 Windsor Ridge                           Name of accountant or bookkeeper
Number     Street
                                           Jay B. Taylor CPA                              Dates business existed

                                                                                          From       2012          To    8/2018
Frisco               TX      75034
City                 State   ZIP Code

                                           Describe the nature of the business            Employer Identification number
Raymond Holdings, LLC                                                                     Do not include Social Security number or ITIN.
Business Name
                                                                                          EIN:          –
2533 Indian Hills Dr.                      Name of accountant or bookkeeper
Number     Street
                                           Jay B. Taylor, CPA                             Dates business existed

                                                                                          From       2008          To    2015
Little Elm           TX      75068-6835
City                 State   ZIP Code

                                           Describe the nature of the business            Employer Identification number
Synaptyk Software Solutions, LLC                                                          Do not include Social Security number or ITIN.
Business Name
                                                                                          EIN:          –
PO Box 870                                 Name of accountant or bookkeeper
Number     Street
                                           Jay B. Taylor, CPA                             Dates business existed

                                                                                          From       2012          To    2018
Frisco               TX      75034-0015
City                 State   ZIP Code

                                           Describe the nature of the business            Employer Identification number
Synaptyk Group, LLC                                                                       Do not include Social Security number or ITIN.
Business Name
                                                                                          EIN:          –
PO Box 870                                 Name of accountant or bookkeeper
Number     Street
                                           Jay B. Taylor, CPA                             Dates business existed

                                                                                          From       2012          To    1/2019
Frisco               TX      75034-0015
City                 State   ZIP Code

                                           Describe the nature of the business            Employer Identification number
Synaptyk Financial, LLC                                                                   Do not include Social Security number or ITIN.
Business Name
                                                                                          EIN:          –
PO Box 870                                 Name of accountant or bookkeeper
Number     Street
                                           Jay B. Taylor, CPA                             Dates business existed

                                                                                          From       2012          To    2018
Frisco               TX      75034-0015
City                 State   ZIP Code

                                           Describe the nature of the business            Employer Identification number
Studio AO!, LLC                            never operated                                 Do not include Social Security number or ITIN.
Business Name
                                                                                          EIN: 4    6 – 2      2    5    6   9    6    2
29 Windsor Ridge                           Name of accountant or bookkeeper
Number     Street
                                           Jay B. Taylor CPA                              Dates business existed

                                                                                          From       2012          To    2018
Frisco               TX      75034
City                 State   ZIP Code




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Debtor 1          Jett Shae Raymond                                                          Case number (if known)

                                                   Describe the nature of the business            Employer Identification number
Synaptyk Media, LLC                                never operated                                 Do not include Social Security number or ITIN.
Business Name
                                                                                                  EIN: 4     6 – 1      1    7    4    7    0     7
29 Windsor Ridge                                   Name of accountant or bookkeeper
Number        Street
                                                   Jay B. Taylor CPA                              Dates business existed

                                                                                                  From       2012           To    2018
Frisco                       TX      75034
City                         State   ZIP Code

                                                   Describe the nature of the business            Employer Identification number
Gents Place - Preston Hollow, LLC                  barbershop                                     Do not include Social Security number or ITIN.
Business Name
                                                                                                  EIN: 8     0 – 0      8    0    8    7    9     1
                                                   Name of accountant or bookkeeper
Number        Street
                                                                                                  Dates business existed

                                                                                                  From       2012           To    2018
Dallas                       TX
City                         State   ZIP Code

                                                   Describe the nature of the business            Employer Identification number
Synaptyk, Inc.                                     never operated                                 Do not include Social Security number or ITIN.
Business Name
                                                                                                  EIN: 5     2 – 2      1    9    6    7    8     5
29 Windsor Ridge                                   Name of accountant or bookkeeper
Number        Street
                                                   Jay B. Taylor CPA                              Dates business existed

                                                                                                  From       2012           To    2018
Frisco                       TX      75034
City                         State   ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

              No
              Yes. Fill in the details below.

  Part 12:          Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Jett Shae Raymond                                       X
       Jett Shae Raymond, Debtor 1                                Signature of Debtor 2

       Date      05/08/2019                                       Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       No
       Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

       No
       Yes. Name of person                                                                         Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                   Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:
 Debtor 1              Jett               Shae                    Raymond
                       First Name         Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                                 Check if this is an
 (if known)
                                                                                                                                 amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                 12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the             Did you claim the property
                                                                        property that secures a debt?                 as exempt on Schedule C?

      Creditor's        Dovenmuehle/City Bank                                 Surrender the property.                      No
      name:                                                                   Retain the property and redeem it.           Yes
      Description of    Homestead - 29 Windsor Ridge                          Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:



 Part 2:           List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property leases                                                               Will this lease be assumed?

      None.




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                       page 1
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Debtor 1     Jett Shae Raymond                                                      Case number (if known)

 Part 3:      Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Jett Shae Raymond                              X
   Jett Shae Raymond, Debtor 1                           Signature of Debtor 2

   Date 05/08/2019                                       Date
        MM / DD / YYYY                                          MM / DD / YYYY




Official Form 108                      Statement of Intention for Individuals Filing Under Chapter 7                                page 2
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



  This notice is for you if:
                                                                Chapter 7: Liquidation

     You are an individual filing for bankruptcy,
     and                                                               $245    filing fee
                                                                        $75    administrative fee
     Your debts are primarily consumer debts.                   +       $15    trustee surcharge
     Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                       $335    total fee
     as "incurred by an individual primarily for a
     personal, family, or household purpose."
                                                                Chapter 7 is for individuals who have financial difficulty
                                                                preventing them from paying their debts and who are
                                                                willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                      pay their creditors. The primary purpose of filing under
to individuals                                                  chapter 7 is to have your debts discharged. The
                                                                bankruptcy discharge relieves you after bankruptcy from
                                                                having to pay many of your pre-bankruptcy debts.
                                                                Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                example, a creditor may have the right to foreclose a
                                                                home mortgage or repossess an automobile.
    Chapter 7 -- Liquidation
                                                                However, if the court finds that you have committed
    Chapter 11 -- Reorganization                                certain kinds of improper conduct described in the
                                                                Bankruptcy Code, the court may deny your discharge.
    Chapter 12 -- Voluntary repayment plan for family
                  farmers or fishermen                          You should know that the even if you file chapter 7 and
                                                                you receive a discharge, some debts are not discharged
                                                                under the law. Therefore, you may still be responsible to
    Chapter 13 -- Voluntary repayment plan for
                                                                pay:
                  individuals with regular income
                                                                     most taxes;
You should have an attorney review your                              most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                          domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                             page 1
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    most fines, penalties, forfeitures, and criminal            for your state of residence and family size, depending
    restitution obligations; and                                on the results of the Means Test, the U.S. trustee,
                                                                bankruptcy administrator, or creditors can file a motion to
    certain debts that are not listed in your bankruptcy        dismiss your case under § 707(b) of the Bankruptcy
    papers.                                                     Code. If a motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:             choose to proceed under another chapter of the
                                                                Bankruptcy Code.
    fraud or theft;
                                                                If you are an individual filing for chapter 7 bankruptcy, the
    fraud or defalcation while acting in breach of fiduciary
                                                                trustee may sell your property to pay your debts, subject
    capacity;
                                                                to your right to exempt the property or a portion of the
                                                                proceeds from the sale of the property. The property,
    intentional injuries that you inflicted; and
                                                                and the proceeds from property that your bankruptcy
    death or personal injury caused by operating a motor        trustee sells or liquidates that you are entitled to, is
    vehicle, vessel, or aircraft while intoxicated from         called exempt property. Exemptions may enable you to
    alcohol or drugs.                                           keep your home, a car, clothing, and household items or
                                                                to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have           Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You          must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly           Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing   property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine        proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
                                                                Chapter 11: Reorganization
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form                  $1,167    filing fee
122A-2).                                                               $550    administrative fee
                                                                +
If your income is above the median for your state, you must          $1,717    total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--          Chapter 11 is often used for reorganizing a business, but
sometimes called the Means Test-- deduct from your              is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to         11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                               page 2
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         Read These Important Warnings

         Because bankruptcy can have serious long-term financial and legal consequences, including loss of
         your property, you should hire an attorney and carefully consider all of your options before you file.
         Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
         and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
         properly and protect you, your family, your home, and your possessions.

         Although the law allows you to represent yourself in bankruptcy court, you should understand that
         many people find it difficult to represent themselves successfully. The rules are technical, and a
         mistake or inaction may harm you. If you file without an attorney, you are still responsible for
         knowing and following all of the legal requirements.

         You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
         necessary documents.

         Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
         bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
         fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
         to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                 Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                    repay your creditors all or part of the money that you owe
            or fishermen                                         them, usually using your future earnings. If the court
                                                                 approves your plan, the court will allow you to repay your
                                                                 debts, as adjusted by the plan, within 3 years or 5 years,
        $200   filing fee                                        depending on your income and other factors.
+        $75   administrative fee
                                                                 After you make all the payments under your plan, many
        $275   total fee
                                                                 of your debts are discharged. The debts that are not
                                                                 discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                 include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                        domestic support obligations,
                                                                     most student loans,
                                                                     certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                           debts for fraud or theft,
                                                                     debts for fraud or defalcation while acting in a
                                                                     fiduciary capacity,
           $235   filing fee
    +       $75   administrative fee
                                                                     most criminal fines and restitution obligations,
           $310   total fee
                                                                     certain debts that are not listed in your bankruptcy
                                                                     papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                     certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                     injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
                                                                     certain long-term secured debts.
dollar amounts set forth in 11 U.S.C. § 109.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                 page 3
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                                                                A married couple may file a bankruptcy case together--
  Warning: File Your Forms on Time                              called a joint case. If you file a joint case and each
                                                                spouse lists the same mailing address on the
  Section 521(a)(1) of the Bankruptcy Code requires             bankruptcy petition, the bankruptcy court generally will
  that you promptly file detailed information about             mail you and your spouse one copy of each notice,
  your creditors, assets, liabilities, income, expenses         unless you file a statement with the court asking that
  and general financial condition. The court may                each spouse receive separate copies.
  dismiss your bankruptcy case if you do not file this
  information within the deadlines set by the
  Bankruptcy Code, the Bankruptcy Rules, and local
  rules of the court.                                           Understand which services you could
                                                                receive from credit counseling agencies
  For more information about the documents and
  their deadlines, go to:
                                                                The law generally requires that you receive a credit
  http://www.uscourts.gov/bkforms/bankruptcy_forms              counseling briefing from an approved credit counseling
  .html#procedure.                                              agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                case, both spouses must receive the briefing. With
                                                                limited exceptions, you must receive it within the 180
                                                                days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                  briefing is usually conducted by telephone or on the
consequences                                                    Internet.

    If you knowingly and fraudulently conceal assets or         In addition, after filing a bankruptcy case, you generally
    make a false oath or statement under penalty of             must complete a financial management instructional
    perjury--either orally or in writing--in connection with    course before you can receive a discharge. If you are
    a bankruptcy case, you may be fined, imprisoned, or         filing a joint case, both spouses must complete the
    both.                                                       course.

                                                                You can obtain the list of agencies approved to provide
    All information you supply in connection with a             both the briefing and the instructional course from:
    bankruptcy case is subject to examination by the
    Attorney General acting through the Office of the           http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
    U.S. Trustee, the Office of the U.S. Attorney, and
    other offices and employees of the U.S. Department          In Alabama and North Carolina, go to:
    of Justice.                                                 http://www.uscourts.gov/FederalCourts/Bankruptcy/Bankru
                                                                ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

Make sure the court has your mailing
address                                                         If you do not have access to a computer, the clerk of the
                                                                bankruptcy court may be able to help you obtain the list.
The bankruptcy court sends notices to the mailing address
you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                              page 4
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                                         UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF TEXAS
                                               FORT WORTH DIVISION
  IN RE:   Jett Shae Raymond                                                           CASE NO

                                                                                       CHAPTER       7

            DISCLOSURE OF COMPENSATION UNDER 11 U.S.C. § 329 AND B.R. 2016(B)


                                               Amount paid:              $4,500.00
                                         Amount to be paid:                   $0.00
                           Property transferred to attorney:    None
                                Collateral held by attorney:    None
                                   Source of compensation: Debtor(s) Assets


    I certify that I am the attorney for the above named debtor, and that the compensation paid or agreed to be paid to me for
services rendered or to be rendered on behalf of the Debtor in or in connection with a case under Title 11 of the United States Code,
such payment or agreement having been made after one year before the date of filing of the petition, is as indicated above.

    I further certify that the Debtor has been informed and has agreed that the compensation paid shall include the following legal
services: (a) All conferences with the Debtor; (b) Preparation of Petition and Schedules; (c) Attendance at 341 First Meeting and
attendance at reaffirmation and/or confirmation hearings; (d) Preparation of routine motions.

    I have not agreed to share this compensation with any person other than members of the firm.


Date 5/8/2019                                                              /s/ Jett Shae Raymond
                                                                          Jett Shae Raymond



 /s/ Mark B. French
Mark B. French                           Bar No. 07440600
Mark B. French
Attorney at Law
1901 Central Drive, Suite 704
Bedford, TX 76021
Phone: (817) 268-0505 / Fax: (817) 268-0597
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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                            FORT WORTH DIVISION
  IN RE:   Jett Shae Raymond                                                       CASE NO

                                                                                  CHAPTER     7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 5/8/2019                                            Signature    /s/ Jett Shae Raymond
                                                                     Jett Shae Raymond



Date                                                     Signature
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                        Adam Price
                        335 Willow Wood Street
                        335 Willow Wood Street



                        Agents Alliance Services, LTD/
                        Moore Insurance Group LLC
                        2591 Dallas Pkwy, Suite 407
                        Frisco, TX 75034-8552


                        AllianceOne Receivables
                        Management Inc.
                        PO BOX 1007
                        Arlington, TX 76004-1007


                        AllianceOne Receivables
                        Management Inc.
                        PO BOX 3107
                        Southeastern, PA 19398-3107


                        American Credit Systems, Inc.
                        400 West Lake Street, Suite 111
                        PO BOX 72849
                        Roselle, IL 60172-0849


                        American Express
                        PO Box 650448
                        Dallas, TX 75265-0448



                        American Express
                        c/o Becket and Lee, LLP
                        PO Box 3001
                        Malvern, PA 19355-0701


                        Anixter
                        1601 Waters Ridge Road
                        Lewisville, TX 75057-6013



                        Appia Communications
                        1030 Hastings, Suite 100
                        Traverse City, MI 49686-3470
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                        arrollton-Farmers Branch ISD
                        Eboney Cobb
                        Perdue Brandon Fielder Et Al
                        500 E. Border St. Suite 640
                        Arlington, TX 76010

                        ARS National Services Inc.
                        PO BOX 469100
                        Escondido, CA 92046-9100



                        Atmos Energy
                        PO BOX 790311
                        St. Louis, MO 63179-0311



                        Avis
                        7876 Collections Center
                        Chicago, IL 60693



                        Barclays Bank Delaware
                        Attn: Bankruptcy
                        P.O. Box 8801
                        Wilmington, DE 19899


                        Cap1/bstby
                        PO Box 790441
                        St Louis, MO 63179



                        Capital Management Services, LP
                        PO BOX 120
                        Buffalo, NY 14206



                        Capital Premium Financing
                        PO BOX 660899
                        Dallas, TX 75266-0899



                        Carrie Jan Raymond
                        29 Windsor Ridge
                        Frisco, TX 75034
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                        Carrington Mortgage Services
                        Attn: Bankruptcy
                        PO Box 3730
                        Anaheim, CA 92806


                        Carrollton-Farmers Branch I.S.D.
                        1445 N. Perry Road
                        PO BOX 110611
                        Carrollton, TX 75011-0611


                        Carrollton-Farmers Branch Independent Sc
                        c/o Daniel K. Bearnden, Esq.
                        Law Offices Of Robert E. Luna, P.C.
                        4411 North Central Expressway
                        Dallas, TX 75205-4210

                        Cavalry Portfolio Services
                        ATTN: Bankruptcy Department
                        500 Summit Lake Ste 400
                        Valhalla, NY 10595


                        CE - DFW Warehouse Solutions
                        900 Port America Pl.
                        Grapevine, TX 76051



                        CE - DFW Warehouse Solutions
                        PO BOX 660899
                        Dallas, TX 75266-0899



                        Chase Card
                        Po Box 15298
                        Wilmington, DE 19850



                        Chase Card Services
                        Attn: Bankruptcy
                        PO Box 15298
                        Wilmington, DE 19850


                        CHEX SYSTEMS INC
                        ATTN: CONSUMER RELATIONS
                        7805 HUDSON ROAD STE 100
                        WOODBURY MN 55125
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                        Citibank
                        PO Box 790034
                        Saint Louis, MO 63179



                        Citibank Sd, Na
                        Attn: Centralized Bankruptcy
                        PO Box 20363
                        Kansas City, MO 64195


                        Citibank Sd, Na
                        Citi Corp Credit Services/Attn:Centraliz
                        PO Box 790040
                        Saint Louis, MO 63179


                        Citibank/The Home Depot
                        Citicorp Credit Srvs/Centralized Bankrup
                        PO Box 790040
                        Saint Louis, MO 63179


                        Citimortgage Inc
                        Po Box 9438,dept 0251
                        Gaithersburg, MD 20898



                        City Bank
                        Po Box 5060
                        Lubbock, TX 79408



                        Colemanz Construction, LLC
                        652 Spruell Rd.
                        Monroe, LA 71202



                        Collin County Tax Assessor/Collector
                        c/o Gay McCall Isaacks et al
                        777 E. 15th St
                        Plano, TX 75074


                        COLLIN COUNTY TAX ASSESSOR/COLLECTOR
                        C/O GAY MCCALL ISAACKS ET AL
                        777 E 15TH ST
                        PLANO TX 75074-5799
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                        Colony Insurance Company
                        c/o Audrey Richards
                        PO Box 469011
                        San Antonio, TX 78246


                        Continuum
                        99 High St, 31st Floor
                        Boston, MA 02110-2329



                        Darren R. Hatch
                        Reagan McLain & Hatch, LLP
                        White Rock Tower, Suite 300
                        6510 Abrams Rd.
                        Dallas, TX 75231

                        Darren R. Hatch
                        White Rock Tower, Suite 300
                        6510 Abrams Road
                        Dallas, TX 75231-7217


                        Dean Raymond
                        504 Upland Ave
                        Lubbock, TX 79416-6610



                        Deans & Lyons
                        Attn: Robert J. Bogdanowicz III
                        325 N. Saint Paul St., Suite 1500
                        Dallas, TX 75201-3891


                        Department of Labor and Industries
                        PO BOX 34974
                        Seattle, WA 98124-1974



                        DFW Airport, TX 75261
                        United Collection Bureau, Inc
                        PO BOX 140310
                        Toledo, OH 43614-0310


                        Dillon Stone
                        7309 Royal Crest Lane
                        Plano, TX 75025-3071
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                        Diversified Adjustment Service, Inc
                        PO BOX 32145
                        Fridley, MN 55432-0145



                        Doug Bynum
                        PO BOX 261853
                        Plano, TX 75026-1853



                        Dovenmuehle/City Bank
                        PO Box 5060
                        Lubbock, TX 79408



                        Eagle Capital
                        PO Box 4215
                        Tupelo, MS 38803



                        EAN Holdings, LLC
                        600 Corporate Park Dr
                        St. Louis, MO 63105-4204



                        Enterprise
                        TollPass Processing Center
                        PO Box 30
                        Roslyn Heights, NY 1157SCRBH7


                        Enterprise Rent-a-Car
                        PO Box
                        Kansas City, MO 64184-3369



                        EQUIFAX
                        P O BOX 740241
                        ATLANTA GA 30374-0241



                        EXPERIAN
                        701 EXPERIAN PARKWAY
                        ALLEN TX 75013
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                        First Financial Asset Mgmt, Inc.
                        3091 Governors Lake Drive
                        Suite 500
                        Peachtree Corners, GA 30071-1135


                        Firstsource Advantage, LLC
                        205 Bryant Woods South
                        Amherst, NY 14228-3609



                        FMA Alliance, Ltd.
                        PO BOX 2409
                        Houston, TX 77252-2409



                        Foley Carrier Services
                        655 Winding Brook Drive
                         Glastonbury, CT 06033-4337



                        Ford Motor Credit Corporation
                        Ford Motor Credit
                        PO Box 6275
                        Dearborn, MI 48121


                        Gay, McCall, Isaacks & Roberts
                        Attn: Erin Minett
                        777 East 15th Street
                        Plano, TX 75074-5799


                        GECRB/Sams Club
                        GECRB/Sams Club
                        PO Box 103104
                        Roswell, GA 30076


                        Goldman, Evans & Trammell LLC
                        10323 Cross Creek Blvd 11 F11
                        Tampa, FL 33647-2988



                        GP Park II, LLC / Granite Park Two
                        5700 Granite Pkwy,
                        Plano, TX 75024
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                        Happy State Bank
                        P.O. Box 68
                        Happy, TX 79042



                        Harrell Pailet & Associates, P.C.
                        5454 La Sierra Drive, Suite 100
                        Dallas, TX 75231-2342



                        Ingold Law
                        5555 Main Street
                        Williamsville, NY 14221-5430



                        INTERNAL REVENUE SERVICE
                        CENTRALIZED INSOLVENCY OPERATIONS
                        P O BOX 7346
                        PHILADELPHIA PA 19101-7346


                        ITT Valwood West Industrial
                        PO Box 204900
                        Dept 204946
                        Dallas, TX 75320


                        Jacob M. Figrlman
                        275 W. Campbell Suite 312
                        Richardson, TX 75080



                        James Brendan Carroll III
                        501 Elm St
                        Suite 385, L.B. 33
                        Dallas, TX 75202-3303


                        James Creedon
                        Klemchuk, LLP
                        8150 N. Central Expy.
                        10th Floor
                        Dallas, TX 75206

                        Jameson and Dunagan, P.C.
                        Attn: Chris P. Jameson
                        5429 LBJ Freeway, Suite 700
                        Dallas, TX 75240-2610
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                        Jeff Carruth
                        Weycer, Kaplan, Pulaski, & Zuber, PC
                        3030 Matlock Rd, Suite 201
                        Arlington, TX 76015


                        Just Energy
                        PO Box 460008
                        Houston, TX 77056



                        Kelly, Hart & Hallman
                        201 Main, Ste 2500
                        Fort Worth, TX 76102



                        Law Offices of Robert E. Luna, P.C.
                        Attn: Daniel K. Bearden, Jr.
                        4411 North Central Expressway
                        Dallas, TX 75205-4210


                        Law Offices of Scott H. Richard
                        Attn: Scott H. Richard
                        1000 E. Beltline Rd, Suite 250
                        Carrollton, TX 75006-6297


                        LTD Financial Services, L.P.
                        7322 Southwest Freeway Suite 1600
                        Houston, TX 77074-2134



                        Mc Grath RentCorp
                        d/b/a TRS - Rentelco
                        1830 W. Airfield Dr.
                        DFW Airport, TX 75261-9260


                        McCarthy, Burgess & Wolfe
                        The MB&W Building
                        26000 Cannon Road
                        Cleveland, OH 44146-1807


                        MS DONNA K. WEBB - AUSA
                        BURNETT PLAZA, SUITE 1700
                        801 CHERRY STREET, UNIT 4
                        FORT WORTH TX 76102
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                        Nationstar Mortgage LLC
                        Attn: Bankruptcy
                        350 Highland Dr
                        Lewisville, TX 75067


                        NCS
                        PO BOX 24101
                        Cleveland, OH 44124-0101



                        Northland Group Inc.
                        PO BOX 390846
                        Minneapolis, MN 55439-0846



                        NTTA
                        PO Box 260928
                        Plano, TX 75026



                        NTTA
                        PO Box 660244
                        Dallas, TX 75266-0244



                        Phillips & Cohen Associates, Ltd.
                        Mail Stop: 871
                        1004 Justison Street
                        Wilmington, DE 19801-5148


                        PORTFOLIO RECOVERY ASSOCIATES LLC
                        PO BOX 41067
                        NORFOLK VA 23541-1067



                        Quigley Cousins, LLC
                        8200 Boulder River Trail,
                        McKinney, TX 75070



                        ReadyRefresh by Nestle
                        PO BOX 5010
                        Woodland Hills, CA 91365-5010
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                        Receivable Management Service
                        1250 E. Diehl Rd, Ste 300
                        PO BOX 3100
                        Naperville, IL 60566-7100


                        Receivables Performance Management
                        PO BOX 1548
                        Lynnwood, WA 98046-1548



                        Republic Services
                        4200 E. 14th St.
                        Plano. TX 75074



                        Republic Services
                        4200 E 14th St
                        Plano, TX 75074-7102



                        Rossenberger Site Solutions, LLC
                        PO Box 4268
                        Lake Charles, LA 70606



                        Southwest Credit
                        4120 International Pkwy, Suite 1100
                        Carrollton, TX 75007-1958



                        StoneBriar HOA
                        c/o Henry, Oddo, Austin & Fletcher, PC
                        1700 Pacific Ave. # 2700
                        Dallas, TX 75201


                        Stream realty Partners- DFW
                        2805 N. Dallas Parkway, Suite 260
                        Lock Box #12
                        Plano, TX 75093


                        Sunbelt Rentals
                        PO Box 409211
                        Atlanta, GA 30384
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                        T. Craig Sheils
                        Sheils Winnubst, PC
                        1701 N. Collins Blvd. Suite 1100
                        Richardson, TX 75080


                        TAX DIVISION
                        US DEPARTMENT OF JUSTICE
                        717 N HARWOOD
                        SUITE 400
                        DALLAS TX 75201

                        TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
                        REVENUE ACCOUNTING DIVISION
                        BANKRUPTCY SECTION
                        P O BOX 13528
                        AUSTIN TX 78711-3528

                        TRANS UNION CORPORATION
                        P O BOX 2000
                        CHESTER PA 19022



                        TRS - Rentelco
                        1830 W. Airfield Dr.
                        DFW Airport, TX 75261-9260



                        TRS - Rentelco
                        PO Box 619260
                        DFW Airport, TX 75261-9260



                        United Collection Bureau, Inc.
                        PO BOX 140310
                        Toledo, OH 43614-0310



                        UNITED STATES ATTORNEY
                        NORTHERN DISTRICT OF TEXAS
                        1100 COMMERCE STREET
                        ROOM 300
                        DALLAS TX 75242

                        UNITED STATES ATTORNEY GENERAL
                        DEPARTMENT OF JUSTICE
                        RM B103
                        950 PENNSYLVANIA AVE, NW
                        WASHINGTON DC 20530-0001
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                        UNITED STATES TRUSTEE
                        1100 COMMERCE STREET
                        ROOM 976
                        DALLAS TX 75242-1011


                        Us Bank
                        425 Walnut St
                        Cincinnati, OH 45202



                        Valmont Site Pro 1
                        15 Oser Ave
                        Hauppauge, NY 11788



                        Valmont Ste Pro 1
                        15 Oser Avenue
                        Hauppauge, NY 11788



                        Verizon
                        PO BOX 920041
                        Dallas, TX 75392-0041



                        Verizon
                        PO BOX 660108
                        Dallas, TX 75266-0108



                        Wells Fargo Bank
                        Attn: Bankruptcy Dept
                        PO Box 6429
                        Greenville, SC 29606


                        Wells Fargo Equipment Finance
                        PO Box 7777
                        San Francisco, CA 94120-777



                        WEX Online
                        Wex Bank
                        PO Box 6293
                        Carol Stream, IL 60197-6293
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                        Weycer, Kaplan, Pulaski, & Zuber, PC
                        3030 Matlock Rd, Suite 201
                        Arlington, TX 76015



                        Wfdillards
                        Po Box 14517
                        Des Moines, IA 50306



                        William L. Siegel
                        Cowles & Thompson
                        901 Main Street, Suite 3900
                        Dallas, TX 75202


                        Windham Professionals, Inc.
                        382 Main Street
                        Salem, NH 03079-2412



                        Zurich North America
                        1400 American Lane
                        Tower 2 Floor 5
                        Schaumburg, IL 60196-5452


                        Zwicker & Associates, PC
                        Old Town Square 1 Chisolm Trail
                        Suite 301
                        Round Rock, TX 78681
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 Fill in this information to identify your case:
 Debtor 1             Jett                    Shae                Raymond
                      First Name              Middle Name         Last Name

 Debtor 2
 (Spouse, if filing) First Name               Middle Name         Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
 (if known)
                                                                                                           Check if this is an amended filing


Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                              12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe
that you are exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are
filing together, and any of the exclusions in this statement applies to only one of you, the other person should complete a
separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:        Identify the Kind of Debts You Have
1.   Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary
     Petition for Individuals Filing for Bankruptcy (Official Form 101).

          No.    Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                 submit this supplement with the signed Form 122A-1.

          Yes. Go to Part 2.

 Part 2:        Determine Whether Military Service Provisions Apply to You
2.   Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
          No.    Go to line 3.
          Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
               10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                       No.    Go to line 3.
                       Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                            Then submit this supplement with the signed Form 122A-1.
3.   Are you or have you been a Reservist or member of the National Guard?
          No.    Complete Form 122A-1. Do not submit this supplement.
          Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
                No.    Complete Form 122A-1. Do not submit this supplement.
                Yes. Check any one of the following categories that applies:

                      I was called to active duty after September 11, 2001,              If you checked one of the categories to the left, go to
                      for at least 90 days and remain on active duty.                    Form 122A-1. On the top of page 1 of Form 122A-1, check
                      I was called to active duty after September 11, 2001,              box 3, The Means Test does not apply now and sign
                      for at least 90 days and was released from active duty on          Part 3. Then submit this supplement with the signed Form
                                            which is fewer than 540 days before I        122A-1. You are not required to fill out the rest of Official
                      file this bankruptcy case.                                         Form 122A-1 during the exclusion period. The exclusion
                                                                                         period means the time you are on active duty or are
                      I am performing a homeland defense activity for at                 performing a homeland defense activity, and for 540 days
                      least 90 days.                                                     afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                      I performed a homeland defense activity for at
                      least 90 days, ending on                        , which is         If your exclusion period ends before your case is closed,
                      fewer than 540 days before I file this bankruptcy case.            you may have to file an amended form later.




Official Form 122A-1Supp              Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                        page 1
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 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           Jett                 Shae                  Raymond
                    First Name           Middle Name           Last Name                       1. There is no presumption of abuse.

 Debtor 2                                                                                      2. The calculation to determine if a presumption
 (Spouse, if filing) First Name          Middle Name           Last Name                          of abuse applies will be made under Chapter 7
                                                                                                  Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS
                                                                                               3. The Means Test does not apply now because
 Case number                                                                                      of qualified military service but it could apply
 (if known)                                                                                       later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                               page 1
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Debtor 1        Jett Shae Raymond                                                                                                   Case number (if known)

                                                                                                                                         Column A     Column B
                                                                                                                                         Debtor 1     Debtor 2 or
                                                                                                                                                      non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                                                                               here
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                                                                 here
     other real property

7.   Interest, dividends, and royalties

8.   Unemployment compensation

     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................


         For you............................................................................................................................

         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                  +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                         +                 =
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                          Total current
                                                                                                                                                                          monthly income




Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                                page 2
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Debtor 1       Jett Shae Raymond                                                                                   Case number (if known)

 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.    Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                       Copy line 11 here                       12a.

            Multiply by 12 (the number of months in a year).                                                                                                               X          12

    12b.    The result is your annual income for this part of the form.                                                                                           12b.


13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.

    Fill in the number of people in your household.


    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Jett Shae Raymond                                                                     X
           Jett Shae Raymond, Debtor 1                                                                    Signature of Debtor 2

           Date 5/8/2019                                                                                  Date
                MM / DD / YYYY                                                                                     MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                     Chapter 7 Statement of Your Current Monthly Income                                                                            page 3
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                                      Current Monthly Income Calculation Details
In re: Jett Shae Raymond                                               Case Number:
                                                                       Chapter:     7




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